Case 2:10-cv-08888-CJB-JCW Document 85358 Filed 04/20/11 Page 1of3

“ 4 pike:
aga otis" IN RE: OIL SPILL by “Deepwater Horizon”
iy
ago” gS? DIRECT FILING SHORT FORM’

ance”
= ge ¥ uthoriges by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
qu X oples. ofa Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
“ao t . ¥

‘By submitting this document, lam asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al, No. 10-2771; adopt and Incorporate the Master Answer [Rec. Doc. 244] to the Compiaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 40-2771; and/or intervene into, Join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“81 Bundie”} fied in MOL No. 2179 (10 md 2179}; and/or intervene
into, join and otherwise adopt the Master Compiaint [Rec. Doc. 881] for post-exptosion injuries (“B3 Bundie”)
filed in MDL No. 2179 (10 md 2779). .

Last Name | First Name | Middle Name/Maiden

Jones ange thee Or

Phone Number, : E-Mail Add

Soe - G/4¢~ I 40 G _ Men
City / State / Zip

nasress Yoyiy Esk Fp

INDIVIDUAL CLAIM

BUSINESS CLAIM

| Employer Name. : Business Name

Job Title /Descipton TyeofBusinesssst—i—i=s~s~™S
‘Address . “Address ee

Gy (Sate cnet cen - Signe Ze ene eae en a

"Last 4 digits of your Social Security Number a " Last 4 digits of your Tax ID Number

Attorney Name | Firm Name

Address ~ ~ . oo City / State / Zip ~

Phone Number E-Mail Address

Claim filed with BP? ves) | Claim Filed with GCCF?: YES
if yes, BP Claim No.: if yes, Claimant Identification No. UN S WN &
\ Claim Type (Please check all that apply):
Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Eamings/Profit Loss Loss of Subsistence use of Natural Resources
Personal njury/Death Removal and/or dean-up costs
Other.

1 This form should be filed with the U.S. District Court for the Eastern District of Loulstana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action Ne.
10-8838. While this Direct Filing Short Form is to be filed in CA No. 16-8888, by prior order of the Court, (Rec. Doc. 246, CA, No. 10-2771 and Rec. Doc, 982 in MDL
2179}, the filing of this form in CA, No. 40-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
natifled electronically by the Clerk of Court of the filing of this Short Form, shail promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shail aiso serve in Hau of the requirement of a Plaintiff to file a Plaintif Profile Porm.
Case 2:10-¢v-08888- CJB- JCW Document 85358 Filed 04/20/11 Page 2 of 3

Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For daims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for éach.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working,

2

The filing of this Direct Filing Short Form shall also serve in iieu of the requirement of a Plaintiff fo file a Plaintiff Profile Form.
Case 2:10-cv-08888-CJB-J

W Dogumen ‘ec Be
« PWN ne). SO PINE KE

Please check the box(es) below that fou think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

OO 1. Commercial fisherman, shrimper, crabher, or oystesman, or the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering.

[3 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an emptoyee therect.

0 3. Recreational business owner, operator or worker, Including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico.

Oo 4, Commercial business, business owner, operator or worker, including commercial divers, offshore diifield service, repair and
supply, real estate agents, and supply companies, ot an employee thereof.

C5. Recreational sport fishermen, recreational diver, beachgoer, of recreational boater.
[J 6. Plant and dock worker, Including commercial seafood plant worker, longshoreman, or ferry operator.

oO 7 Owmer, lessor, or tassee of real propert y alleged to he damaged, harmed or impacted, physically ar economically, including
jessees of oyster beds.

CI 8. a sc mner and operate, vacation rental owner and agen, or axoose wo ei fh Fung fom he {AT PSS
[1 9. Bank, financial institution, or retail business that suffered losses 85 8 result of the spill.
oO 40. Person who utilizes natural resources for subsistence.

[EY11. otner: alte
Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

(11. Boat captain or crew involved in the Vessels of Opportunity program.

C2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

C13. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion dean-up aciivities.

ol 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

os Resident who lives or works in close proximity to coastal waters.

(16. Other.

Both BP and the Gulf Coast Claim s Facility (‘GCCF”) are hereby authorized to relea se to the Defend ants in MDL
2479 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) fiting this form and PSC through Plaintiff Liaison Counsel.

Nanelle NJONCS

~Frint Name [

1 4o/ i

Date /

3

Filing Short Form shall also serve In fleu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

The filing of this Diract

